        Case 3:20-cv-01035-SI       Document 249     Filed 02/18/22   Page 1 of 4




BRIAN M. BOYNTON
Principal Deputy Assistant Attorney General
SCOTT ERIK ASPHAUG
Acting United States Attorney
ALEXANDER K. HAAS
Director, Federal Programs Branch
BRIGHAM J. BOWEN
Assistant Director, Federal Programs Branch
JORDAN L. VON BOKERN
KERI L. BERMAN
JASON C. LYNCH (DC 1016319)
MICHAEL P. CLENDENEN
Trial Attorneys
U.S. Department of Justice
Civil Division, Federal Programs Branch
1100 L Street, NW
Washington, D.C. 20530
Tel.: (202) 514-1359
Fax: (202) 616-8460

Counsel for Defendants


                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF OREGON
                                 PORTLAND DIVISION



INDEX NEWSPAPERS, LLC, et al.,                     Case No. 3:20-cv-1035-SI
              Plaintiffs.                          FEDERAL DEFENDANTS’
                                                   SECOND MOTION TO DISSOLVE
                                                   PRELIMINARY INJUNCTION
       v.

CITY OF PORTLAND, et al.,

              Defendants.




SECOND MOTION TO DISSOLVE PRELIMINARY INJUNCTION
         Case 3:20-cv-01035-SI         Document 249        Filed 02/18/22     Page 2 of 4




       On January 7, 2022, this Court entered an opinion and order granting Federal Defendants’

motion for relief under Federal Rule of Civil Procedure 62.1. The Court “construe[d] the Federal

Defendants’ motion as including a motion to dissolve the preliminary injunction for which the

Court does not have jurisdiction because of the pending appeal, and state[d] under Rule 62.1(a)(3)

that the Court would grant the motion to dissolve if the Ninth Circuit remands for that purpose.”

Op. & Order 2, ECF No. 244. On January 26, 2022, the Ninth Circuit granted such a limited

remand. See Order, ECF No. 245.

       Particularly since the Court has already construed Federal Defendants’ prior motion as

including a motion for dissolution, which it did,1 the Court can (and should) dissolve the

preliminary injunction now. See Fed. R. Civ. P. 62.1(c) (“The district court may decide the motion

if the court of appeals remands for that purpose.”) (emphasis added) (referring to a motion under

Rule 62.1(a), which Federal Defendants filed on June 11, 2021, ECF No. 209, and which the Court

construed as including a motion for dissolution). The Ninth Circuit granted a limited remand, not

to enable further motions practice, but “for the limited purpose of enabling the district court to

consider appellants’ request to dissolve the preliminary injunction.” Order 1 (emphasis added),

ECF No. 245; see also id. at 2 (“Within 60 days after the date of this order or within 7 days after

the district court’s ruling on the motion, whichever occurs first, appellants shall file a report[.]”)

(emphasis added). The Ninth Circuit was referring to the motion that Federal Defendants have

already filed; no further motion is necessary. Indeed, it is doubtful that this Court even has

jurisdiction to consider a new motion to dissolve, since the remand was for the sole, limited purpose



1
  See Motion 4-5 (“Although the pending appeal of this Court’s preliminary injunction deprives
this Court of jurisdiction to dissolve the preliminary injunction outright, the Court can issue an
indicative ruling on the motion to dissolve the preliminary injunction.”) (emphasis added), ECF
No. 209; id. at 5 (“This Court is therefore able to consider Federal Defendants’ motion to dissolve
the preliminary injunction and issue an indicative ruling on the motion.”) (emphasis added); see
also Reply 8-9 (addressing Plaintiffs’ argument to the contrary), ECF No. 230.

SECOND MOTION TO DISSOLVE PRELIMINARY INJUNCTION - 1
         Case 3:20-cv-01035-SI         Document 249        Filed 02/18/22     Page 3 of 4




of considering (and granting, per the indicative ruling) the original request for dissolution. Id.

       At a status conference held on February 17, 2022, the Court raised the question of whether

another motion is necessary before dissolving the preliminary injunction. Plaintiffs argued that it

is, and Federal Defendants argued that it is not.2 The Court found the answer unclear and asked

Federal Defendants to file by February 18, 2022, a pro forma motion to dissolve the preliminary

injunction.

       Wherefore, while they maintain that no further motion is necessary, and have concerns

over the Court’s jurisdiction even to entertain such a motion, Federal Defendants nevertheless

move the Court to dissolve—for the reasons stated in Federal Defendants’ prior motion, ECF No.

209, and accepted in the Court’s indicative ruling, ECF No. 244—the preliminary injunction

entered in this case, ECF No. 157.

Dated: February 18, 2022                   Respectfully submitted,

                                           BRIAN M. BOYNTON
                                           Principal Deputy Assistant Attorney General

                                           SCOTT ERIK ASPHAUG
                                           Acting United States Attorney

                                           ALEXANDER K. HAAS
                                           Director, Federal Programs Branch

                                           BRIGHAM J. BOWEN
                                           Assistant Director, Federal Programs Branch

                                           Jason C. Lynch
                                           JORDAN L. VON BOKERN
                                           KERI L. BERMAN
                                           JASON C. LYNCH (DC 1016319)
                                           MICHAEL P. CLENDENEN
                                           Trial Attorneys



2
 Because the Parties made their respective positions known at the status conference, Federal
Defendants do not include a Local Civil Rule 7-1(a) certification here.

SECOND MOTION TO DISSOLVE PRELIMINARY INJUNCTION - 2
      Case 3:20-cv-01035-SI   Document 249    Filed 02/18/22    Page 4 of 4




                                U.S. Department of Justice
                                Civil Division, Federal Programs Branch
                                1100 L Street, NW
                                Washington, D.C. 20530
                                Tel.:      (202) 514-1359
                                Fax:       (202) 616-8460

                                Counsel for Defendants




SECOND MOTION TO DISSOLVE PRELIMINARY INJUNCTION - 3
